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              IN THE UNITED STATES DISTRICT COURT FOR THE

                       WESTERN DISTRICT OF OKLAHOMA

JAMES C. CHANDLER,            )
                              )
                Plaintiff,    )
                              )
v.                            )                   Case No. 13-CV-00775-C
                              )
MONUMENTAL LIFE INSURANCE )
COMPANY, a foreign for-profit )
corporation,                  )
                              )
                Defendant.    )

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff James C. Chandler and Defendant Monumental Life Insurance Company,

pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii), jointly stipulate to the

dismissal of this action with prejudice. Each party will bear its own costs and attorneys’

fees.

        WHEREFORE, upon consideration, the parties hereto stipulate that this case filed

on behalf of Plaintiff James C. Chandler, against named Defendant Monumental Life

Insurance Company, be dismissed with prejudice.
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Respectfully submitted,


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